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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re
                                                                 Chapter 11
Lordstown Motors Corp., et al.,1
                                                                 Case No. 23-10831 (MFW)

                                        Debtors.                 (Jointly Administered)


                          SUPPLEMENTAL CERTIFICATE OF SERVICE

      I, Heather Fellows, depose and say that I am employed by Kurtzman Carson Consultants
LLC (KCC), the claims and noticing agent for the Debtors in the above-captioned case.

        On January 17, 2024, at my direction and under my supervision, employees of KCC caused
to be served per postal forwarding address the following document via First Class Mail upon the
service list attached hereto as Exhibit A:

        Debtors' Second Omnibus Motion for Entry of an Order (I) Authorizing the Rejection
         of Certain Unexpired Leases and Executory Contracts Effective as of the Dates
         Specified Herein and (II) Granting Related Relief [Docket No. 861]

Dated: January 19, 2024
                                                               /s/ Heather Fellows
                                                               Heather Fellows
                                                               KCC
                                                               222 N Pacific Coast Highway, 3rd Floor
                                                               El Segundo, CA 90245
                                                               Tel 310.823.9000




1
         The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown
Motors Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’
service address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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                    Exhibit A
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                                                                     Exhibit A
                                                    Second Omnibus Contract Rejection Service List
                                                             Served via First Class Mail
                                CreditorName           CreditorNoticename       Address        City       State      Zip
                          Cox Communications
                          California, LLC., Cox
                          California Telecom, LLC   Attn Director or Officer   20 Icon    Foothill Rnch   CA      92610‐3000




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